Case 2:21-cv-06320-MCS-JC

Name and address:

Brooks H. Spears

McGuireWoods LLP

1750 Tysons Boulevard, Suite 1800
Tysons, VA 22102

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Mosafer Inc.,, et al.,

Plaintiff(s)

CASE NUMBER

2:21-cv-06320-MCS-JC

 

Broidy, et al.,

Defendant(s).

 

(PROPOSED) ORDER ON APPLICATION
OF NON-RESIDENT ATTORNEY TO APPEAR
IN A SPECIFIC CASE PRO HAC VICE

 

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

Spears, Brooks H. of

Applicant’s Name (Last Name, First Name & Middle Initial)

703-712-5073 703-712-5190

Telephone Number

bspears@mcguirewoods.com
E-Mail Address

 

 

Fax Number

 

 

McGuireWoods LLP
1750 Tysons Boulevard, Suite 1800
Tysons, VA 22102

 

 

 

Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of
Elliott Broidy, Broidy Capital Management, LLC, and Circinus, LLC

 

 

 

Name(s) of Party(ies) Represented

and designating as Local Counsel

Lally, Kevin M.

Designee’s Name (Last Name, First Name & Middle Initial)
226402 213-457-9862 213-457-9882

Designee’s Cal, Bar No, Telephone Number Fax Number

of

 

 

klally@mcguirewoods.com
E-Mail Address

HEREBY ORDERS THAT the Application be:
[|] GRANTED.
[[] DENIED: [_] for failure to pay the required fee.

 

[_] Plaintiff(s) Defendant(s) [_| Other:

 

McGuireWoods LLP

Wells Fargo Center, South Tower
355 S. Grand Ave., Suite 4200
Los Angeles, CA 90071

 

 

 

Firm/Agency Name & Address

[[] for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.

[_] for failure to complete Application:

 

(J pursuant to L.R. 83-2.1.3.2: [[] Applicant resides in California; [7] previous Applications listed indicate Applicant
is regularly employed or engaged in business, professional, or other similar activities in California.
[[] pursuant to L.R. 83-2.1.3.4; Local Counsel: [7] is not member of Bar of this Court; [7] does not maintain office in District.

[] because

 

IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: L be refunded C1] not be refunded.

Dated

 

 

USS. District Judge/U.S. Magistrate Judge

 

G-64 ORDER (5/16)

(PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE

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